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June 9, 2025

BY CM/ECF

Catherine O’Hagan Wolfe, Clerk of Court
United States Court of Appeals
  for the Second Circuit
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

Re: In Re: Oral Phenylephrine Marketing and Sales Practices Litigation,
    Nos. 24-3296(L) & 25-119*

Dear Ms. Wolfe:

We write to bring the Court’s attention to the Supreme Court’s recent decision in No. 23-1259,
Blom Bank Sal v. Honickman. The decision squarely rejects the notion that courts must balance
Rule 60(b)’s finality principles against liberal pleading standards when a movant seeks to reopen
a case to file an amended complaint, reaffirming that relief from judgment under Rule 60(b)(6)
requires extraordinary circumstances beyond a litigant’s desire to see its claims adjudicated. Slip
Op. 4-5.

Honickman forecloses Newton’s argument that the district court should have applied a lenient
standard to assess its Rule 60(b) motion because its Lanham Act claim “was never given its ‘day
in court.’ ” Newton’s Br. 32; see also id. at 33; Response Br. 30-31. “Rather, a party seeking to
reopen his case and replead must first satisfy Rule 60(b) on its own terms and obtain Rule 60(b)
relief before Rule 15(a)’s liberal amendment standard can apply.” Slip Op. 5.

Honickman also “emphasized the importance of a Rule 60(b)(6) movant’s faultlessness, explaining
that ‘[t]here must be an end to litigation someday, and free, calculated, deliberate choices are not
to be relieved from.’ ” Slip Op. 7 (quoting Ackermann v. United States, 340 U.S. 193, 198 (1950)).
As the district court rightly noted, Newton’s “had numerous opportunities to object, to seek a
carve-out for its claim, or to at least attempt to reserve its rights to assert [its] claim.” SPA-39.
Newton’s failure to do so is precisely the type of “free, calculated, deliberate choice[]” that


* This letter is submitted on behalf of Defendants-Appellees that were party to the Response
Brief for Defendants-Appellees in No. 25-119 (ECF No. 129.1).
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 Clerk of Court                                 -2-                                    June 9, 2025

distinguishes this case from those that have satisfied the stringent extraordinary circumstances test.
See Slip Op. 6-8; Response Br. 27-31; SPA-39.


Respectfully submitted,

/s/ Jessica L. Ellsworth
Jessica L. Ellsworth

Counsel for Defendant-Appellee
RB Health (US) LLC

cc: All counsel of record (via ACMS)
(Slip Opinion)              OCTOBER TERM, 2024                                       1

                                       Syllabus

         NOTE: Where it is feasible, a syllabus (headnote) will be released, as is
       being done in connection with this case, at the time the opinion is issued.
       The syllabus constitutes no part of the opinion of the Court but has been
       prepared by the Reporter of Decisions for the convenience of the reader.
       See United States v. Detroit Timber & Lumber Co., 200 U. S. 321, 337.


SUPREME COURT OF THE UNITED STATES

                                       Syllabus

            BLOM BANK SAL v. HONICKMAN ET AL.

CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR
                 THE SECOND CIRCUIT

      No. 23–1259. Argued March 3, 2025—Decided June 5, 2025
Plaintiffs, who are victims and families of victims of terrorist attacks car-
  ried out by Hamas between 2001 and 2003, sued BLOM Bank SAL
  under the Anti-Terrorism Act for allegedly aiding and abetting the at-
  tacks by providing financial services to Hamas-affiliated customers.
  BLOM argued that the complaint failed to state a claim, and plaintiffs
  repeatedly affirmed they would not seek to amend their complaint if it
  were dismissed. The District Court dismissed the complaint with prej-
  udice, finding that plaintiffs had not adequately alleged that BLOM
  had the requisite general awareness for aiding-and-abetting liability.
  The court denied leave to amend because plaintiffs had declined sev-
  eral opportunities to amend and failed to identify additional facts they
  could allege. The Second Circuit affirmed the dismissal, finding that
  even though the District Court had applied too stringent a standard
  for the general awareness element, plaintiffs’ claims still failed under
  the correct standard. Following the affirmance, plaintiffs returned to
  the District Court and moved under Federal Rule of Civil Procedure
  60(b)(6) to vacate the final judgment so that they could file an amended
  complaint to meet the Second Circuit’s clarified standard. The District
  Court denied the motion, ruling that the Second Circuit’s clarification
  did not constitute the “extraordinary circumstances” required for Rule
  60(b)(6) relief, and that plaintiffs’ prior deliberate choices not to amend
  counseled against relief. On appeal, the Second Circuit reversed, hold-
  ing that when a party seeks Rule 60(b) relief to file an amended com-
  plaint, district courts must not apply Rule 60(b)(6)’s extraordinary cir-
  cumstances standard in isolation but must instead balance Rule
  60(b)’s finality principles with Rule 15(a)’s liberal amendment policy.
Held: Relief under Rule 60(b)(6) requires extraordinary circumstances,
 and this standard does not become less demanding when the movant
2                   BLOM BANK SAL v. HONICKMAN

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    seeks to reopen a case to amend a complaint. A party must first satisfy
    Rule 60(b) before Rule 15(a)’s liberal amendment standard can apply.
    Pp. 5–12.
       (a) Rule 60(b)(6) is a catchall provision that provides relief from final
    judgment for “any other reason that justifies relief” beyond the specific
    grounds in Rules 60(b)(1)–(5). The text and structure of Rule 60(b)
    make clear that this catchall provision is available only in narrow cir-
    cumstances. It covers grounds not already covered by the preceding
    five paragraphs, and a broad interpretation would improperly circum-
    vent the time limitations of those paragraphs. The Court has consist-
    ently held that relief under Rule 60(b)(6) requires “extraordinary cir-
    cumstances,” as first established in Klapprott v. United States, 335
    U. S. 601, and reaffirmed in numerous subsequent decisions. This
    strict interpretation is essential to preserve the finality of judgments.
    See Gonzalez v. Crosby, 545 U. S. 524, 535. Pp. 5–8.
       (b) The Rule 60(b)(6) standard does not change when a party seeks
    to reopen a case to amend a complaint. In that circumstance, satisfac-
    tion of Rule 60(b)(6) necessarily precedes any application of Rule 15(a).
    Cf. Waetzig v. Halliburton Energy Services, Inc., 604 U. S. ___, ___.
    Rules 60(b) and 15(a) apply at different stages of litigation and require
    separate inquiries. Rule 15(a)(2)’s direction that courts “should freely
    give leave when justice so requires” governs pretrial amendments, but
    does not apply when a case is closed following final judgment. A party
    seeking Rule 60(b)(6) relief must demonstrate extraordinary circum-
    stances regardless of what they intend to do if the case is reopened.
    The Second Circuit’s “balancing” approach is not consonant with Rule
    60(b)(6) and this Court’s precedents because it improperly dilutes Rule
    60(b)(6)’s stringent standard. Pp. 8–10.
       (c) Plaintiffs’ arguments that the Second Circuit’s approach is con-
    sonant both with Rule 60(b)(6) and with this Court’s precedents are
    unpersuasive. Balancing the strict standards of Rule 60(b)(6) against
    the more relaxed standards of Rule 15 necessarily weakens the former,
    and is thus incompatible with this Court’s long line of precedents hold-
    ing that Rule 60(b)(6) “should only be applied in ‘extraordinary circum-
    stances.’ ” Liljeberg v. Health Services Acquisition Corp., 486 U. S. 847,
    864. Foman v. Davis, 371 U. S. 178, does not suggest otherwise. Fo-
    man dealt with Rule 59(e), which does not threaten the finality of judg-
    ments to the same degree that Rule 60(b)(6) does. Thus, a Rule 59(e)
    movant is not required to show the same “extraordinary circum-
    stances” to receive relief. See id., at 181–182. Pp. 10–11.
       (d) The Second Circuit’s disposition of this case was incorrect. Dis-
    trict courts’ Rule 60(b) rulings are reviewed “only for abuse of discre-
    tion.” Browder v. Director, Dept. of Corrections of Ill., 434 U. S. 257,
    263, n. 7. The District Court’s determination that plaintiffs failed to
                      Cite as: 605 U. S. ____ (2025)                     3

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  demonstrate any extraordinary circumstances warranting relief under
  Rule 60(b)(6) both applied the correct legal standard and provided
  “substantial justification” for its conclusion. Cooter & Gell v. Hart-
  marx Corp., 496 U. S. 384, 405. The District Court’s justifications for
  its decision align with established Rule 60(b) doctrine that intervening
  legal developments rarely constitute extraordinary circumstances and
  that extraordinary circumstances must suggest the movant is faultless
  in the delay. Pp. 11–12.
Reversed and remanded.

  THOMAS, J., delivered the opinion of the Court, in which ROBERTS, C. J.,
and ALITO, SOTOMAYOR, KAGAN, GORSUCH, KAVANAUGH, and BARRETT,
JJ., joined, and in which JACKSON, J., joined as to all but Part III. JACK-
SON, J., filed an opinion concurring in part and concurring in the judg-
ment.
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                             Opinion of the Court

     NOTICE: This opinion is subject to formal revision before publication in the
     United States Reports. Readers are requested to notify the Reporter of
     Decisions, Supreme Court of the United States, Washington, D. C. 20543,
     pio@supremecourt.gov, of any typographical or other formal errors.


SUPREME COURT OF THE UNITED STATES
                                   _________________

                                   No. 23–1259
                                   _________________


      BLOM BANK SAL, PETITIONER v. MICHAL
              HONICKMAN, ET AL.
 ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
           APPEALS FOR THE SECOND CIRCUIT
                                  [June 5, 2025]

   JUSTICE THOMAS delivered the opinion of the Court.
   Federal Rule of Civil Procedure 60(b) permits a district
court to grant relief from a final judgment in limited cir-
cumstances. The Rule includes five provisions setting out
specific grounds upon which parties may seek such relief.
See Fed. Rules Civ. Proc. 60(b)(1)–(5). It also includes a
catchall provision that allows a district court to relieve a
party from a final judgment for “any other reason that jus-
tifies relief.” Fed. Rule Civ. Proc. 60(b)(6). We have con-
sistently held that only “extraordinary circumstances” can
justify relief under the Rule 60(b)(6) catchall. The question
presented is whether this rigorous standard applies when a
Rule 60(b)(6) movant seeks to reopen a case for the purpose
of filing an amended complaint. We hold that it does.
                                I
                               A
   Plaintiffs (respondents here) are victims and the families
of victims of terrorist attacks carried out by Hamas between
December 2001 and August 2003. On January 1, 2019,
plaintiffs sued petitioner BLOM Bank SAL (BLOM), an in-
ternational bank, under the Anti-Terrorism Act, as
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amended by the Justice Against Sponsors of Terrorism Act
(JASTA), 18 U. S. C. §2333(d). They alleged that BLOM
aided and abetted Hamas’s commission of the terrorist at-
tacks by providing financial services to customers who were
allegedly affiliated with Hamas and who had helped further
Hamas’s goals.
   In the District Court, BLOM repeatedly argued that the
facts alleged in plaintiffs’ complaint were insufficient to
state a claim of aiding and abetting under JASTA. Before
moving to dismiss the complaint, BLOM made this argu-
ment to the District Court in a required premotion letter.
See 1 App. 142–147. Plaintiffs responded that they would
stand on their allegations as pleaded. See id., at 148–155.
At a subsequent, premotion conference, plaintiffs’ counsel
reaffirmed their clients’ position, telling the District Court
that they were “prepared to brief [their opposition to a mo-
tion to dismiss] based on the arguments presented in the
pre-motion letter,” and that they “would not seek leave to
amend” if the court dismissed their complaint. App. to Pet.
for Cert. 93–94.
   BLOM moved to dismiss under Federal Rule of Civil Pro-
cedure 12(b)(6). At a hearing on the motion, the District
Court reminded plaintiffs’ counsel that they had not re-
quested an opportunity to replead and specifically asked
whether this meant that the complaint contained every-
thing the court would “need to consider in terms of suffi-
ciency of [plaintiffs’] pleading.” Id., at 124. Plaintiffs’ coun-
sel confirmed that they did not intend to add any additional
facts. Id., at 125.
   The District Court dismissed the complaint with preju-
dice and so denied leave to amend. The court held, as rele-
vant here, that plaintiffs had not “plausibly allege[d] the
general awareness . . . elemen[t] necessary to plead JASTA
aiding-and-abetting liability.” 432 F. Supp. 3d 253, 257
(EDNY 2020). In the District Court’s view, “it [was] not
enough for Plaintiffs to plausibl[y] allege that BLOM was
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                         Opinion of the Court

generally aware of [its] role in terrorist activities, from
which terrorist attacks were a natural and foreseeable con-
sequence.” Id., at 264 (internal quotation marks omitted).
Rather, plaintiffs needed to “plausibly alleg[e] that, by
providing financial services to [specific customers], BLOM
generally assumed a role in Hamas’ violent or life-endan-
gering activities,” and plaintiffs had failed to do so. Id., at
265. And, the court explained, leave to amend was unwar-
ranted because “Plaintiffs . . . d[id] not request leave to
amend”; “specifically declined the Court’s offer to do so at
the pre-motion conference”; and further failed to “identif[y]
any additional facts they could allege which would address
the deficiencies in their complaint.” Id., at 270–271. The
District Court thus made an exception to its usual practice
of “grant[ing] plaintiffs an opportunity to amend their com-
plaints following dismissal.” Id., at 270.
   Plaintiffs appealed to the Second Circuit, arguing that
they had pleaded facts sufficient to support their aiding-
and-abetting claim.* The Second Circuit concluded that the
District Court had misinterpreted the general-awareness
element to impose an unduly high foreseeability require-
ment. 6 F. 4th 487, 497–498 (2021). But, even applying its
less exacting standard, the Second Circuit determined that
the facts alleged in the complaint “d[id] not plausibly sup-
port an inference that [BLOM] had the requisite general
awareness at the time that it provided banking services” to
the customers allegedly affiliated with Hamas. Id., at 501.
The court thus affirmed the District Court’s judgment of
dismissal. Id., at 503.
                             B
  Plaintiffs returned to the District Court, and moved un-
der Rule 60(b)(6) to vacate the court’s then-affirmed final
judgment so that they could file an amended complaint.
——————
  *Plaintiffs did not appeal the “with prejudice” aspect of the District
Court’s dismissal.
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They argued that the District Court should give them an
opportunity to meet the standard outlined by the Second
Circuit. 2022 WL 1062315, *3 (EDNY, Apr. 8, 2022).
   The District Court denied their request. Specifically, it
rejected plaintiffs’ contention that “the Second Circuit’s
clarification of the aiding-and-abetting standard” consti-
tuted “ ‘extraordinary circumstances’ ” sufficient to justify
relief under Rule 60(b)(6). Ibid. That argument, according
to the District Court, ignores the principle that “ ‘a mere
change in decisional law does not constitute an “extraordi-
nary circumstance.” ’ ” Ibid. In any event, the District
Court continued, any amendment would likely be futile be-
cause it was “not clear” that plaintiffs could succeed “[e]ven
under the clarified standard” laid out by the Second Circuit.
Id., at *3, n. 3.
   The District Court added that plaintiffs’ litigation choices
further counseled against relief under Rule 60(b)(6). The
court explained that plaintiffs “had ample opportunity to
pursue all legal avenues available to them for relief,” and
sought postjudgment amendment despite having
“declin[ed] two prior opportunities” to amend their com-
plaint in the ordinary course, and “after unsuccessfully ap-
pealing the dismissal of that complaint with prejudice.”
Ibid. The District Court declined to overlook “Plaintiffs’
documented series of deliberate choices not to cure the de-
ficiencies identified in their pleading.” Id., at *4.
   On appeal, the Second Circuit again disagreed with the
District Court. It acknowledged that “[a] plaintiff is ordi-
narily entitled to Rule 60(b)(6) relief ” only under “ ‘extraor-
dinary circumstances.’ ” 2024 WL 852265, *2 (Feb. 29,
2024). But, it asserted, when a party seeks vacatur under
Rule 60(b) “ ‘to obtain leave to file an amended complaint,
special considerations come into play.’ ” Ibid. In that cir-
cumstance, the court held, “the district court must give ‘due
regard’ to ‘both [Rule 60(b)’s] philosophy favoring finality of
judgments . . . and the liberal amendment policy of Rule
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15(a),’ ” ibid., which requires courts to “freely give leave” to
amend pleadings before trial “when justice so requires,”
Fed. Rule Civ. Proc. 15(a)(2). In other words, courts must
“balance” the competing standards by “consider[ing] Rule
60(b) finality and Rule 15(a) liberality in tandem.” 2024
WL 852265, *2. The Second Circuit held that the District
Court had abused its discretion by “incorrectly treat[ing]
Plaintiffs’ motion to vacate and amend as calling for two
distinct analyses, requiring Plaintiffs to successfully navi-
gate Rule 60(b)’s finality gauntlet before they could invoke
Rule 15(a)’s liberal repleading policy.” Ibid. We granted
certiorari. 603 U. S. ___ (2024).
                               II
  Relief under Rule 60(b)(6) requires extraordinary circum-
stances. That standard does not become less demanding
when a Rule 60(b)(6) movant also hopes to amend his com-
plaint. Rather, a party seeking to reopen his case and re-
plead must first satisfy Rule 60(b) on its own terms and ob-
tain Rule 60(b) relief before Rule 15(a)’s liberal amendment
standard can apply. Because the Second Circuit’s balanc-
ing approach conflates this order of operations and dilutes
Rule 60(b)(6)’s well-established standard, we must reject it.
                               A
  Rule 60(b) allows a party to seek relief from final judg-
ment and reopen a case based on mistake or excusable ne-
glect, newly discovered evidence, fraud, or the void or pro-
spectively inequitable status of a judgment. See Rules
60(b)(1)–(5). Rule 60(b) also includes a “catchall” provi-
sion—Rule 60(b)(6)—that allows a district court to reopen
a case for “ ‘any other reason that justifies relief.’ ” Kemp v.
United States, 596 U. S. 528, 533 (2022). A party seeking
relief based on the grounds covered by paragraphs (1)
through (3)—i.e., mistake or excusable neglect, new evi-
dence, or fraud—faces a 1-year limitations period. See Fed.
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                      Opinion of the Court

Rule Civ. Proc. 60(c)(1). That time bar, however, does not
apply to motions for relief filed under Rule 60(b)’s other par-
agraphs, including Rule 60(b)(6). Ibid.
   The text and structure of Rule 60 make clear that relief
under Rule 60(b)(6) is available only in narrow circum-
stances. Rule 60(b)(6) is a catchall that follows paragraphs
(1) through (5). It covers “any other reason” that justifies
relief; that is, Rule 60(b)(6) provides only grounds for relief
not already covered by the preceding five paragraphs. Were
it otherwise, the catchall provision could swallow the pre-
ceding paragraphs and “b[e] used to circumvent” their time
bars. Liljeberg v. Health Services Acquisition Corp., 486
U. S. 847, 863, n. 11 (1988). Such a broad interpretation of
Rule 60(b)(6) would thus violate a “cardinal principle of
statutory construction” by making the preceding para-
graphs and their limitations periods “superfluous.” Duncan
v. Walker, 533 U. S. 167, 174 (2001) (internal quotation
marks omitted); see also Fischer v. United States, 603 U. S.
480, 493 (2024) (avoiding an “unbounded interpretation” of
catchall provision that would “render superfluous” a “retic-
ulated list” of provisions). Thus, we have repeatedly held
that relief under Rule 60(b)(6) is available “only when Rules
60(b)(1) through (b)(5) are inapplicable.” Kemp, 596 U. S.,
at 533 (citing Liljeberg, 486 U. S., at 863, n. 11).
   But, “[e]ven then, ‘ “extraordinary circumstances” ’ must
justify reopening.” Kemp, 596 U. S., at 533. The Court
identified such circumstances for the first time in Klapprott
v. United States, 335 U. S. 601 (1949), decided shortly after
Rule 60(b)(6)’s adoption. There, the petitioner sought to set
aside a default judgment entered in denaturalization pro-
ceedings. See id., at 603 (opinion of Black, J.). His “allega-
tions set up an extraordinary situation”: The petitioner was
“in jail . . . , weakened from illness, without a lawyer in the
denaturalization proceedings or funds to hire one,” and
“disturbed and fully occupied in efforts to protect himself
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against the gravest criminal charges” in separate proceed-
ings. Id., at 613–614. He was therefore “no more able to
defend himself ” in the denaturalization proceedings “than
he would have been had he never received notice of the
charges.” Id., at 614. On these facts, the Court found that
relief under Rule 60(b)(6) was justified. Id., at 614–616.
   The Court underscored the stringency of the “extraordi-
nary circumstances” test a year later in Ackermann v.
United States, 340 U. S. 193 (1950). The petitioner there
had suffered an adverse denaturalization judgment and de-
clined to appeal. Id., at 195. Four years later, he sought to
vacate the judgment under Rule 60(b)(6), alleging that it
was erroneous, and that he had declined to appeal due to
expense and the advice of a third party. Id., at 195–197.
The Court held these circumstances insufficient to satisfy
Rule 60(b)(6)’s strict standard. Id., at 197. Compared to
the situation in Klapprott, the Ackermann petitioner’s alle-
gations highlighted “the difference between no choice and
choice; imprisonment and freedom of action; no trial and
trial; no counsel and counsel; no chance for negligence and
inexcusable negligence.” 340 U. S., at 202. The Court em-
phasized the importance of a Rule 60(b)(6) movant’s fault-
lessness, explaining that “[t]here must be an end to litiga-
tion someday, and free, calculated, deliberate choices are
not to be relieved from.” Id., at 198; see also, e.g., 12 J.
Moore, D. Coquillette, G. Joseph, G. Vairo, & C. Varner,
Moore’s Federal Practice §60.48[3][b], p. 60–188 (3d ed.
2024) (“In a vast majority of the cases finding that extraor-
dinary circumstances do exist . . . , the movant is completely
without fault for his or her predicament”).
   Our more recent cases have consistently reaffirmed that
Rule 60(b)(6) “should only be applied in ‘extraordinary cir-
cumstances.’ ” Liljeberg, 486 U. S., at 864; see Kemp, 596
U. S., at 533; Tharpe v. Sellers, 583 U. S. 33, 35 (2018) (per
curiam); Buck v. Davis, 580 U. S. 100, 123 (2017);
Christeson v. Roper, 574 U. S. 373, 380 (2015) (per curiam);
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Pioneer Investment Services Co. v. Brunswick Associates
L. P., 507 U. S. 380, 393 (1993). “ ‘This very strict interpre-
tation of Rule 60(b) is essential if the finality of judgments
is to be preserved.’ ” Gonzalez v. Crosby, 545 U. S. 524, 535
(2005) (quoting Liljeberg, 486 U. S., at 873 (Rehnquist,
C. J., dissenting)).
                               B
   The Rule 60(b)(6) standard does not change when a party
seeks to reopen his case to amend his complaint. In that
circumstance, satisfaction of Rule 60(b)(6) necessarily pre-
cedes any application of Rule 15(a). Cf. Waetzig v. Halli-
burton Energy Services, Inc., 604 U. S. ___, ___–___ (2025)
(slip op., at 5–6) (explaining that motion to vacate under
Rule 60(b) “must be addressed before any subsequent juris-
dictional questions [are] considered”). Rule 15(a)’s liberal
amendment policy therefore cannot weaken Rule 60(b)(6)’s
“extraordinary circumstances” standard.
   Rules 60(b) and 15(a) apply at different stages of litiga-
tion and demand separate inquiries. Rule 15(a) governs
pretrial amendments, and sets forth a standard under
which courts “should freely give leave when justice so re-
quires.” Rule 15(a)(2). The Rule’s “purpose is to provide
maximum opportunity for each claim to be decided on its
merits rather than on procedural technicalities.” 6 C.
Wright, A. Miller, & M. Kane, Federal Practice and Proce-
dure §1471, p. 587 (3d ed. 2010) (Wright & Miller). That
standard, however, does not govern when, following a final
judgment, the case is closed and there is no pending plead-
ing to amend. Accord, e.g., Boyd v. Secretary, Dept. of Cor-
rections, 114 F. 4th 1232, 1237 (CA11 2024) (“[O]nce the
court has entered final judgment, Rule 15(a) no longer ap-
plies and no amendment is possible unless the judgment is
first set aside”). A contrary approach “would enable the lib-
eral amendment policy of Rule 15(a) to be employed in a
way that is contrary to the philosophy favoring finality of
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judgments and the expeditious termination of litigation.” 6
Wright & Miller §1489, at 816.
   Thus, we disagree with the Second Circuit’s holding that
the District Court should have used a hybrid standard to
“consider Rule 60(b) finality and Rule 15(a) liberality in
tandem.” 2024 WL 852265, *2. It is Rule 60(b)’s standard—
and only Rule 60(b)’s standard—that applies when a party
seeks relief from final judgment. A party seeking Rule
60(b)(6) relief must always demonstrate “extraordinary cir-
cumstances” justifying relief, see Kemp, 596 U. S., at 533
(internal quotation marks omitted); what he intends to do
if his case is reopened does not alter that standard, see su-
pra, at 6, 8–9; cf., e.g., In re Ferro Corp. Derivative Litiga-
tion, 511 F. 3d 611, 624 (CA6 2008) (“Plaintiffs must first
meet the threshold requirement of 60(b)(6)’s extraordinary
or exceptional circumstances to vacate the judgment before
seeking to conduct discovery”). In other words, the District
Court was correct to “trea[t] Plaintiffs’ motion to vacate and
amend as calling for two distinct analyses,” with the ques-
tion of vacatur under Rule 60(b)(6) preceding that of re-
pleading under Rule 15(a). 2024 WL 852265, *2; accord,
e.g., Daulatzai v. Maryland, 97 F. 4th 166, 179 (CA4 2024)
(“[W]hen the motion to vacate is filed under Rule 60(b), the
more restrictive standard for granting that motion must be
satisfied before consideration can be given to the motion to
amend”).
   None of our analysis, however, should be taken to suggest
that a district court contravenes Rule 60(b) merely by con-
sidering a movant’s desire to amend his complaint. For ex-
ample, where a party seeks vacatur in order to amend its
pleadings, a district court is free to cite Rule 15 and
acknowledge amendment-related considerations, such as
whether a movant has had the opportunity to amend, and
the amendment standard that the party will eventually
have to meet if the Rule 60(b) motion is granted. What a
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district court may not do is what the Second Circuit de-
manded here: dilute Rule 60(b)(6)’s stringent standard by
“balanc[ing]” it with “Rule 15(a)’s liberal pleading princi-
ples.” 2024 WL 852265, *2.
                                 C
    Plaintiffs insist that the Second Circuit’s approach is con-
sonant with Rule 60(b)(6) and our precedents interpreting
that provision, but their arguments are unpersuasive.
    Balancing the strict standards of Rule 60(b)(6) against
the more relaxed standards of Rule 15 necessarily weakens
the former, and is thus incompatible with our long line of
precedents holding that Rule 60(b)(6) “should only be ap-
plied in ‘extraordinary circumstances.’ ” Liljeberg, 486
U. S., at 864; accord, 6 Wright & Miller §1489, at 816. Even
the Second Circuit appeared to acknowledge that its test
departed from the “ordinar[y]” approach to Rule 60(b)(6)
under which a plaintiff may receive relief only by demon-
strating “ ‘extraordinary circumstances’ ” and showing that
“ ‘the asserted grounds for relief are not recognized in
clauses (1)–(5) of the Rule.’ ” 2024 WL 852265, *2.
    Nor does this Court’s decision in Foman v. Davis, 371
U. S. 178 (1962), help plaintiffs. The Foman Court held
that the District Court’s denial of the petitioner’s motions
to vacate the court’s judgment and amend her complaint
rested on “technicalities” that ran contrary to “the spirit of
the Federal Rules of Civil Procedure.” Id., at 181–182. But,
Foman dealt with Rule 59(e), not Rule 60(b), id., at 181, and
“Rule 60(b) differs from Rule 59(e) in just about every way
that matters to the inquiry here,” Banister v. Davis, 590
U. S. 504, 518 (2020). Most relevant, a Rule 60(b) motion
“threaten[s] an already final judgment with successive liti-
gation,” id., at 519, and a motion under Rule 60(b)(6) in par-
ticular may threaten final judgments years after they are
entered. See Rule 60(c)(1). In contrast, “[t]he filing of a
Rule 59(e) motion within the 28-day period ‘suspends the
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finality of the original judgment,’ ” and “[o]nly the disposi-
tion of that motion ‘restores th[e] finality’ of the original
judgment.” Banister, 590 U. S., at 508. Because Rule 59(e)
does not threaten the finality of judgments to the same de-
gree that Rule 60(b)(6) does, we do not require a movant to
show the same “extraordinary circumstances” to receive re-
lief. See Foman, 371 U. S., at 181–182.
                                III
    We also disagree with the Second Circuit’s disposition of
this case. District courts’ Rule 60(b) rulings are reviewed
“only for abuse of discretion.” Browder v. Director, Dept. of
Corrections of Ill., 434 U. S. 257, 263, n. 7 (1978). That
standard is “limited and deferential.” Gonzalez, 545 U. S.,
at 535. To be upheld, a district court’s decision need only
“ ‘appl[y] the correct legal standard and offe[r] substantial
justification’ ” for its conclusion. Cooter & Gell v. Hartmarx
Corp., 496 U. S. 384, 405 (1990). The District Court’s de-
termination that plaintiffs failed to “demonstrat[e] any ex-
traordinary circumstances warranting relief under Rule
60(b)(6),” 2022 WL 1062315, *3, easily clears that bar.
    For the reasons we have explained, the District Court
was correct to “evaluat[e] Plaintiffs’ motion under only Rule
60(b)’s standard.” 2024 WL 852265, *2; see supra, at 6–9.
And, the District Court offered persuasive justifications for
finding that standard unsatisfied—that the Second Cir-
cuit’s clarification of the test for aiding-and-abetting liabil-
ity did not “constitute extraordinary circumstances,” partic-
ularly when plaintiffs were unlikely to succeed under that
standard, and that plaintiffs’ “series of deliberate choices
not to cure the deficiencies identified in their pleading” also
cut against them. 2022 WL 1062315, *3–*4, and n. 3; see
supra, at 4. Those justifications follow from core tenets of
Rule 60(b) doctrine. See, e.g., Agostini v. Felton, 521 U. S.
203, 239 (1997) (“Intervening developments in the law by
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themselves rarely constitute the extraordinary circum-
stances required for relief under Rule 60(b)(6)”); Pioneer In-
vestment Services, 507 U. S., at 393 (“ ‘extraordinary cir-
cumstances’ ” must suggest that the movant is “faultless in
the delay”).
   The District Court’s decision therefore fell within the
“ ‘wide range of choice’ ” afforded under the abuse-of-discre-
tion standard. McLane Co. v. EEOC, 581 U. S. 72, 83
(2017). The Second Circuit erred in holding otherwise.
                      *    *    *
  The judgment of the Second Circuit is reversed, and the
case is remanded for further proceedings consistent with
this opinion.
                                          It is so ordered.
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SUPREME COURT OF THE UNITED STATES
                          _________________

                          No. 23–1259
                          _________________


      BLOM BANK SAL, PETITIONER v. MICHAL
              HONICKMAN, ET AL.
 ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
           APPEALS FOR THE SECOND CIRCUIT
                         [June 5, 2025]

   JUSTICE JACKSON, concurring in part and concurring in
the judgment.
   I join all but Part III of the Court’s opinion. I agree with
the Court’s conclusion that, when a district court considers
“a movant’s desire to amend his complaint” in the context
of a motion to reopen a case under Federal Rule of Civil
Procedure 60(b)(6), the Rule 60(b)(6) standard, rather than
the Rule 15(a) standard, applies. Ante, at 9–10. Given the
deference owed to lower courts with respect to Rule 60(b)(6)
determinations, I also agree that the District Court did not
abuse its discretion in denying reopening here. Ante, at 11–
12.
   I write separately to emphasize that our affirmance of the
District Court’s denial of reopening in this case does not re-
quire accepting all aspects of the District Court’s reasoning.
In particular, I think the District Court was wrong to fault
plaintiffs for making a “deliberate choic[e]” to appeal the
dismissal of their complaint in lieu of accepting various pre-
dismissal opportunities to cure purported pleading deficien-
cies. 2022 WL 1062315, *4 (EDNY, Apr. 8, 2022). The Dis-
trict Court based that aspect of its reopening determination
on our opinion in Ackermann v. United States, 340 U. S. 193
(1950). But, as I explain below, the “choice” that plaintiffs
made—declining to amend—does not categorically preclude
Rule 60(b)(6) relief under that precedent.
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                                I
   Rule 60(b) permits district courts to reopen cases after
the entry of a final judgment “under a limited set of circum-
stances including fraud, mistake, and newly discovered ev-
idence.” Gonzalez v. Crosby, 545 U. S. 524, 528 (2005). This
Rule “ ‘attempts to strike a proper balance between the con-
flicting principles that litigation must be brought to an end
and that justice should be done.’ ” Waetzig v. Halliburton
Energy Services, Inc., 604 U. S. ___, ___ (2025) (slip op., at
3) (quoting 11 C. Wright, A. Miller, & M. Kane, Federal
Practice and Procedure §2851, p. 286 (3d ed. 2012)).
   The sixth paragraph of Rule 60(b) is the provision at issue
here; it is a “catchall” that permits reopening for reasons
not covered in the Rule’s preceding five paragraphs. Kemp
v. United States, 596 U. S. 528, 533 (2022). The opening
paragraphs of subsection (b) specifically enumerate various
bases for relief: mistake, newly discovered evidence, fraud,
and the voiding or satisfaction of a judgment. Fed. Rules
Civ. Proc. 60(b)(1)–(5). Then, under paragraph (6), a court
may, “on motion and just terms,” reopen a judgment, order,
or proceeding for “any other reason that justifies relief,”
Rule 60(b)(6), provided that the motion is filed “within a
reasonable time,” Rule 60(c)(1).
   Because of the “mutually exclusive” nature of Rule 60(b)’s
provisions, Pioneer Investment Services Co. v. Brunswick
Associates L. P., 507 U. S. 380, 393 (1993), this Court has
long held that “relief under Rule 60(b)(6) is available only
in narrow circumstances,” ante, at 6. We have thus re-
quired Rule 60(b)(6) movants to demonstrate that “ ‘ “ex-
traordinary circumstances” ’ ” justify reopening the case.
Kemp, 596 U. S., at 533. In this Court’s first case applying
Rule 60(b)(6), we concluded that reopening was warranted
where a movant alleged “an extraordinary situation”—
namely, that he had been stripped of his citizenship by de-
fault judgment while he was, among other things, incarcer-
ated and in ill health. Klapprott v. United States, 335 U. S.
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601, 613–614 (1949) (opinion of Black, J.). The Court con-
sidered a similar Rule 60(b)(6) request for reopening in the
context of a denaturalization proceeding one year later in
Ackermann—and reached a different outcome: We upheld
the denial of the Rule 60(b)(6) motion, expressly distin-
guishing Klapprott. 340 U. S., at 199–200. Critically, the
movant in Ackermann had sought reopening only after
“ma[king] a considered choice not to appeal” the adverse
judgment. Id., at 198. Given the need for “an end to litiga-
tion someday,” we explained that a movant “cannot be re-
lieved of such a choice because hindsight seems to indicate
to him that his decision not to appeal was probably wrong.”
Ibid.
   Under this line of precedent, the Court has concluded
that “due diligence” by the movant is a prerequisite to ob-
taining Rule 60(b)(6) relief. Liljeberg v. Health Services Ac-
quisition Corp., 486 U. S. 847, 863, n. 11 (1988). For that
reason, we have consistently found reopening inappropriate
where, as in Ackermann, a movant deliberately terminated
the underlying litigation. A decade after Ackermann, for
example, we held that a Rule 60(b)(6) movant who had
“abandoned” his appeal from a denaturalization judgment
due to its perceived “small likelihood of . . . success” was not
entitled to reopening under Rule 60(b)(6) where he could
not otherwise demonstrate extraordinary circumstances.
Polites v. United States, 364 U. S. 426, 432–433 (1960).
More recently, we found reopening inappropriate when a
movant had “abandoned any attempt to seek review of ” the
decision in question. Gonzalez, 545 U. S., at 537; cf. Pio-
neer, 507 U. S., at 393 (explaining that, to obtain Rule
60(b)(6) relief more than one year after the entry of a final
judgment, a party must be “faultless in the delay”).
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                              II
                              A
   Relying on Ackermann, the District Court below sug-
gested that plaintiffs could not demonstrate extraordinary
circumstances because they had made a “documented series
of deliberate choices not to cure the deficiencies identified
in their pleading.” 2022 WL 1062315, *4 (citing Acker-
mann, 340 U. S., at 198). The District Court thus faulted
plaintiffs for believing that their complaint alleged suffi-
cient facts and declining to amend it; they opted instead to
seek clarification from the appeals court regarding the suf-
ficiency of their pleading. See 2022 WL 1062315, *3 (“Fun-
damentally, Plaintiffs seek to amend their complaint after
declining two prior opportunities to do so, and after unsuc-
cessfully appealing the dismissal of that complaint with
prejudice”).
   In my view, the District Court should not have assumed
that Ackermann’s lack-of-due-diligence principle applies
under these circumstances. Plaintiffs did not “abando[n]”
this litigation. Gonzalez, 545 U. S., at 537; Polites, 364
U. S., at 433. Instead, they diligently pursued their “ ‘stat-
utory right’ ” to appeal on the grounds that, in their view,
the District Court had mistakenly concluded their com-
plaint was insufficient. Waetzig, 604 U. S., at ___ (slip op.,
at 9).
   To be sure, the courts below did ultimately find that the
factual allegations in plaintiffs’ complaint were deficient.
But that just means that plaintiffs were overconfident
about the strength of their pleading and their prospect of
success on appeal. A misstep of this nature is not abandon-
ment—far from it—and the fact that a plaintiff opts to ap-
peal does not alone preclude Rule 60(b)(6) relief, provided
that he can otherwise demonstrate extraordinary circum-
stances and has not exhibited “neglect or lack of due dili-
gence.” Liljeberg, 486 U. S., at 863, n. 11; cf. Buck v. Davis,
580 U. S. 100, 123–126 (2017) (holding that the use of race-
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based considerations at sentencing in a capital case was an
extraordinary circumstance warranting reopening even
though the movant’s counsel had introduced the evidence
in question).
  The bottom line, jurisprudentially, is that courts should
refrain from reflexively denying reopening for amendment
purposes when a Rule 60(b)(6) movant’s only purported
“fault” was a prior decision not to amend the complaint. See
S. Dodson, Rethinking Extraordinary Circumstances, 106
Nw. U. L. Rev. 377, 386 (2012) (arguing that Ackermann
should preclude reopening only with respect to “those mo-
vants who deliberately stop pursuing their claims”).
                              B
   A plaintiff may have good reasons for seeking clarifica-
tion from the appeals court before taking the significant
step of amending his pleading. In this case, for example,
plaintiffs allege that BLOM Bank SAL “aided and abetted
Hamas’s commission of ” certain “terrorist attacks by
providing financial services to customers who were alleg-
edly affiliated with Hamas and who had helped further Ha-
mas’s goals.” Ante, at 2. These are serious allegations. One
would reasonably expect plaintiffs to exercise great caution
before making additional factual assertions that further
link BLOM to alleged terrorist activities. See Fed. Rules
Civ. Proc. 11(b)–(c).
   Moreover, and importantly, denying reopening after ap-
peal merely because the plaintiff previously declined to
amend the complaint risks undermining the “ ‘statutory
right’ to take an appeal from any ‘final decision’ ” of a dis-
trict court. Waetzig, 604 U. S., at ___ (slip op., at 9). If a
plaintiff is necessarily at fault for Rule 60(b)(6) purposes
just because he exercised his right to appeal, then plaintiffs
will be disincentivized to go to the courts of appeals even
when they reasonably believe the allegations in their plead-
ings are sufficient. That outcome not only divests them of
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their right to appellate review, but could also leave im-
portant legal questions regarding pleading sufficiency un-
answered.
    It is particularly inappropriate to deny Rule 60(b)(6) reo-
pening based on a prior refusal to amend where a clear, in-
tervening change in the law supplies the necessary “ex-
traordinary circumstances.” Cf. Kemp, 596 U. S., at 540
(SOTOMAYOR, J., concurring) (detailing this Court’s “settled
precedents” recognizing “the availability of Rule 60(b)(6) to
reopen a judgment in extraordinary circumstances, includ-
ing a change in controlling law”). To treat the plaintiff ’s
prior refusals to amend as dispositive in such a situation
would be manifestly inconsistent with “the preference ex-
pressed in the Federal Rules of Civil Procedure in general
. . . for resolving disputes on their merits.” Krupski v. Costa
Crociere S. p. A., 560 U. S. 538, 550 (2010).
                         *     *     *
   This Court reviews the denial of a Rule 60(b) motion only
for an abuse of discretion, and does not opine here, in the
first instance, as to whether these plaintiffs have demon-
strated extraordinary circumstances. Ante, at 11. The Dis-
trict Court’s primary justification for denying plaintiffs’ mo-
tion to reopen was that the Second Circuit’s “clarification”
of the applicable legal standard did not qualify as an ex-
traordinary circumstance, particularly when plaintiffs were
unlikely to prevail “[e]ven under the clarified standard.”
2022 WL 1062315, *3, and n. 3. I concur in today’s judg-
ment because I agree that the District Court did not abuse
its discretion with respect to denying Rule 60(b)(6) relief on
that basis. But I find the District Court’s alternative
ground for denying reopening—that plaintiffs were at fault
because they declined prior opportunities to amend their
complaint—neither “persuasive” nor consistent with “core
tenets of Rule 60(b) doctrine.” Ante, at 11. Assuming ex-
traordinary circumstances otherwise exist, a plaintiff
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should not be faulted under Rule 60(b)(6) for reasonably
having chosen to appeal rather than amend his complaint.
